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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                    BOSTON DIVISION


 Typemock, LTD.,

                   Plaintiff,
                                                     Case No.: 1:17-cv-10274-RGS
         v.

 Telerik, Inc.,                                      JURY TRIAL DEMANDED

                   Defendant.



                         DECLARATION OF STEVEN M. BAUER, ESQ.

I, Steven M. Bauer, declare:

       1.         I am a partner at the law firm of Proskauer Rose LLP, counsel for Defendant

Telerik, Inc. (“Telerik”). I make this declaration in support of Telerik’s motion to amend its

answer to add a “license” affirmative defense.

       2.         Telerik’s proposed Amended Answer, showing the additions in redline, is

attached hereto as Exhibit 1.

       3.         I have served as lead counsel for Defendant Telerik from the outset of this case.

       4.         On April 12, Telerik filed a motion for leave to amend its answer to add antitrust,

inequitable conduct, and breach of contract counterclaims. (Dkt. No. 54.) The proposed

amendment included approximately 100 numbered paragraphs spread over 25 pages laying the

factual groundwork necessary to support those counterclaims. (Dkt. No. 56-1 (Ex 1 to Mtn. for

Leave to Amend), ¶¶ 3–81, 103–135.)

       5.         Also in that motion was one added paragraph specifically stating Telerik’s

intention to assert an affirmative defense of license.
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       6.       Typemock produced the Microsoft Agreement on a confidential “attorneys’ eyes

only” basis almost a year after this case was filed, and over six months after Telerik served its

answer, on October 2, 2017.




       7.       At the time, both parties had put the case largely on hold.

                                              the parties had jointly filed five motions to defer the

claim construction briefing schedule. (See Dkt. Nos. 38, 39, 42, 43, 44, 45, 47, 48, 49, 50.)

                                 there had been no depositions or substantial document

production.

       8.                                                                                       the

parties turn to the litigation in earnest, confirmed in correspondence on January 19, 2018, after

which the parties agreed to start producing documents over the next several months. (See

Exhibit 3



       9.       With the case essentially on hold until January 2018, it was only after activity re-

started and we began to focus on claim construction briefing and discovery, that we noticed the

correlation between the infringement allegations and the                              in the

Microsoft Agreement. Around March 2018, we noticed that because Typemock’s infringement

allegations, while not expressly saying so,




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                                                                          in the Microsoft

Agreement. Once this possibility was identified, we needed time to confirm our understanding

of the technology and how the client used it, research the implications                and the

resulting causes of action, and obtain client clearance to proceed with each step, all while

maintaining the confidentiality of the Microsoft Agreement. Each of those steps took time, and

we put Typemock on notice that we had identified that Typemock’s infringement contentions

invoked the                                   on April 9, 2018. When Telerik put Typemock on

notice of the defense, no depositions had yet even been scheduled in this case (which remains

true today), the Court had held no substantive hearings on the case (which also remains true

today), and the parties were just beginning their production of documents.

       10.     We had not correlated Typemock’s infringement allegations and the Microsoft

Agreement earlier.




       11.




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(Excerpt from April 19, 2018 Amended Infringement Contentions, attached as Exhibit 4 (red

boxed emphasis added).)

       12.    After we put Typemock on notice of the license defense on April 9, 2018, on

April 19, Typemock amended its infringement contentions. In those infringement contentions,

Typemock has amended the allegations




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(Redline of April 19, 2018 Amended Infringement Contentions over October 31, 2017 Amended

Infringement Contentions, which are attached as Exhibit 5.)



       13.




I declare under penalty of perjury that the foregoing is true and correct.

 Dated: June 26, 2018

                                               /s/ Steven M. Bauer
                                               Steven M. Bauer



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